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                                                     U.S. Department of Justice
                                                     United States Attorney
                                                     Eastern District of Louisiana

EdwardJ. Rivera                                     The Poydras Center               Telephone: 504-680-3 I 63
Assistant Uniled States Attorney                    650 Poydras Street, Suite 1600   Fax: 504-589-4395
                                                    New Orleans, Louisiana 70130




                                                    May 2,2019


Via e-mail
     @                       .com
                     Esq.
New Orleans, LA

          Re: Vanessa Motta

Dear Mr.                 :

        This letter is to confirm your representation to our office via a voice mail that I received
this date that you are legal counsel for Vanessa Motta. At this time, we wish to advise you that Ms.
Motta is the subject of a federal investigation involving mail and wire fraud relating to allegedly
staged motor vehicle accidents.

       We further advise you that any communications by Ms. Motta (or thru third parties on her
behalf or for her benefit) to potential witnesses concerning their knowledge of the alleged staged
motor vehicle accidents may be considered witness tampering andlor obstruction ofjustice.

          Please let us know if you and your client would like to discuss this matter with FBI Special
Agent Robert Orvin, and if so, we can meet either at the FBI or in our offices. Please note for
future reference that we do not consent to the taping/audio recording of any meetings, discussions
and./or phone conversations between the parties.



                                                Sincerely yours,
                                                PETER G. STRASSER
                                                LINITED STATES ATTORNEY


                                                EDUIARD J. RIVERA
                                                Assistant United States Attorney


                                               BzuAN KLEBBA
                                               Assistant United States Attorney
                                                                                                       GOVERNMENT
                                                                                                         EXHIBIT

                                                                                                                 Q
